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                                    UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                  Plaintiff
v.                                                          Case Number 8:06cr142-001

                                                            USM Number 20818-047

MILAN ROBINSON
                         Defendant
                                                            Jessica P. Douglas

                                                            Defendant’s Attorney
___________________________________

                                  JUDGMENT IN A CRIMINAL CASE
                         (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of standard conditions 5 and 7 and special conditions 2 and 4
of the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

                                                                                     Date Violation
      Violation No.                     Nature of Violation                           Concluded


            1               Failure to obtain employment                   Ongoing

            2               Failure to abstain from illicit substances     Ongoing


            3               Failure to abstain from the use of alcohol     September 13, 2007

            4               Failure to participate in treatment            Ongoing

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984 and Booker/FanFan decisions.

Following the imposition of sentence, the Court advised the defendant of his right to appeal pursuant to the
provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such Notice of Appeal
must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States attorney of any material change in the defendant’s economic circumstances.

                                                                              Date of Imposition of Sentence:
                                                                                                May 13, 2008

                                                                                        s/ Joseph F. Bataillon
                                                                                  United States District Judge

                                                                                               May 16, 2008
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                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of twenty-four months (24) with credit for time served.

        The Court makes the following recommendations to the Bureau of Prisons:

1.     That the defendant be incarcerated in a federal facility as close to Macy, Nebraska as
possible.

        (x) The defendant is remanded to the custody of the United States Marshal.


                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                         SUPERVISED RELEASE

          No term of Supervised Release is imposed upon release of imprisonment.


                              CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                        Total Fine                      Total Restitution
     $100.00 remains due                                                   $1,244.00 remains due

The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:

          interest requirement is waived.



                                                  FINE

                                            RESTITUTION

        Restitution in the amount of $1,244.00 is hereby ordered. A balance of $1,244.00 remains
due and payable. The defendant shall make restitution to the following payees in the amounts
listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                                     Priority Order
                               **Total Amount               Amount of                or Percentage
     Name of Payee                 of Loss              Restitution Ordered           of Payment

 Tom and Cindy French              $1,244.00                 $1,244.00
 c/o Horseshoe Lounge
 Walthill, NE 68067

 Totals                            $1,244.00                 $1,244.00


         **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23,
1996.
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                                     SCHEDULE OF PAYMENTS

The special assessment in the amount of $100.00 remains due and payable.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated to pay
said sum immediately if he or she has the capacity to do so. The United States of America may institute civil
collection proceedings at any time to satisfy all or any portion of the criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall participate
in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such Program, the defendant shall
pay 50% of the available inmate institutional funds per quarter towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make payments to satisfy
the criminal monetary penalty in the following manner: (a) monthly installments of $50 or 3% of the
defendant’s gross income, whichever is greater; (b) the first payment shall commence 60 days following the
defendant’s discharge from incarceration, and continue until the criminal monetary penalty is paid in full; and
(c) the defendant shall be responsible for providing proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following order of
priority: special assessment; restitution; fine; and other penalties. Unless otherwise specifically ordered, all
criminal monetary penalty payments, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, shall be made to the clerk of the Court. Unless otherwise
specifically ordered, interest shall not accrue on the criminal monetary penalty.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

The defendant shall inform the probation officer of any change in his or her economic circumstances affecting
the ability to make monthly installments, or increase the monthly payment amount, as ordered by the court.


The defendant is restrained from transferring any real or personal property, unless it is necessary to liquidate
and apply the proceeds of such property as full or partial payment of the criminal monetary penalty.

Restitution is hereby ordered jointly and severally with: co-defendant Newton Dale.


CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
